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 7

 8                           UNITED STATES DISTRICT COURT
 9                         CENTRAL DISTRICT OF CALIFORNIA
10

11                                             Case No.
     SUZANNE NA PIER, an individual,
12                                             Complaint For Damages And
13                     Plaintiff,              Injunctive Relief For:

14   v.                                         1. VIOLATIONS OF THE
15                                                 AMERICANS WITH DISABILITIES
                                                   ACT OF 1990, 42 U.S.C. §12181 et
16   FRANCES L. FOLCKE, as an                      seq. as amended by the ADA
     individual and as a trustee of THE            Amendments Act of 2008 (P.L. 110-
17
     FRANCES L FOLCKE 2000                         325).
18   REVOCABLE TRUST; and DOES
     1-10, inclusive,                           2. VIOLATIONS OF THE UNRUH
19
                                                   CIVIL RIGHTS ACT, CALIFORNIA
20                    Defendants.                  CIVIL CODE § 51 et seq.
21

22
           Plaintiff, SUZANNE NA PIER (“Plaintiff”), complains of Defendants
23
     FRANCES L. FOLCKE, as an individual and as a trustee of THE FRANCES L
24
     FOLCKE 2000 REVOCABLE TRUST; and Does 1-10 (“Defendants”) and alleges
25
     as follows:
26
                                             PARTIES
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           1.      Plaintiff is an adult California resident. Plaintiff is substantially limited
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 1   in performing one or more major life activities, including but not limited to:
 2   walking, standing, ambulating, and sitting. As a result of these disabilities, Plaintiff
 3   relies upon mobility devices, including at times a wheelchair, to ambulate. With
 4   such disabilities, Plaintiff qualifies as a member of a protected class under the
 5   Americans with Disabilities Act, 42 U.S.C. §12102(2) as amended by the ADA
 6   Amendments Act of 2008 (P.L. 110-325) (“ADA”) and the regulations
 7   implementing the ADA set forth at 28 C.F.R. §§ 36.101 et seq. At the time of
 8   Plaintiff’s visits to Defendants’ facility and prior to instituting this action, Plaintiff
 9   suffered from a “qualified disability” under the ADA, including those set forth in
10   this paragraph. Plaintiff is also the holder of a Disabled Person Parking Placard.
11          2.     Plaintiff is informed and believes and thereon alleges that Defendant
12   FRANCES L. FOLCKE, as an individual and as a trustee of THE FRANCES L
13   FOLCKE 2000 REVOCABLE TRUST, owned the property located at 1620 Daily
14   Drive, Camarillo, California 93010 (“Property”) on or around January 5, 2019 and
15   March 30, 2019.
16          3.     Plaintiff is informed and believes and thereon alleges that Defendant
17   FRANCES L. FOLCKE, as an individual and as a trustee of THE FRANCES L
18   FOLCKE 2000 REVOCABLE TRUST, owns the Property currently.
19          4.     Plaintiff does not know the true name of Defendants, its business
20   capacity, its ownership connection to the Subject Property serving IHOP #784
21   (“Business”), or its relative responsibilities in causing the access violations herein
22   complained of. Plaintiff is informed and believes that each of the Defendants herein,
23   including Does 1 through 10, inclusive, is responsible in some capacity for the
24   events herein alleged, or is a necessary party for obtaining appropriate relief.
25   Plaintiff will seek leave to amend when the true names, capacities, connections, and
26   responsibilities of the Defendants and Does 1 through 10, inclusive, are ascertained.
27                               JURISDICTION AND VENUE
28          5.     This Court has subject matter jurisdiction over this action pursuant
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                                             COMPLAINT
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 1   to 28 U.S.C. § 1331 and § 1343(a)(3) & (a)(4) for violations of the ADA.
 2          6.     This court has supplemental jurisdiction over Plaintiff’s non-federal
 3   claims pursuant to 28 U.S.C. § 1367, because Plaintiff’s Unruh Civil Rights Act,
 4   California Civil Code § 51 et seq., (“UCRA”) claims are so related to Plaintiff’s
 5   federal ADA claims in that they have the same nucleus of operative facts and
 6   arising out of the same transactions, they form part of the same case or controversy
 7   under Article III of the United States Constitution.
 8          7.     Venue is proper in this court pursuant to 28 U.S.C. §1391 because the
 9   real property which is the subject of this action is located in this district and because
10   Plaintiff's causes of action arose in this district.
11                                FACTUAL ALLEGATIONS
12          8.     Plaintiff went to the Business on or about January 5, 2019 and March
13   30, 2019 for the dual purpose of purchasing menu items and to confirm that this
14   public place of accommodation is accessible to persons with disabilities within the
15   meaning federal and state law.
16          9.     The Business is a facility open to the public, a place of public
17   accommodation, and a business establishment.
18          10.    Parking spaces are one of the facilities, privileges, and advantages
19   reserved by Defendants to persons at the Property serving the Business.
20          11.    Unfortunately, although parking spaces were one of the facilities
21   reserved for patrons, there were no designated parking spaces available for persons
22   with disabilities that complied with the 2010 Americans with Disabilities Act
23   Accessibility Guidelines (“ADAAG”) on January 5, 2019 and March 30, 2019.
24          12.    At that time, instead of having architectural barrier free facilities for
25   patrons with disabilities, Defendants have: a built up curb ramp that projects from
26   the sidewalk and into the access aisle (Section 406.5) and is in excess of the
27   maximum grade allowed by ADAAG specifications (Section 406.1). Therefore,
28   there was no compliant designated disabled parking serving the Business designed
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                                             COMPLAINT
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 1   for persons with disabilities.
 2         13.    Subject to the reservation of rights to assert further violations of law
 3   after a site inspection found infra, Plaintiff asserts there are additional ADA
 4   violations which affect her personally.
 5         14.    Plaintiff is informed and believes and thereon alleges Defendants had
 6   no policy or plan in place to make sure that there was compliant accessible parking
 7   reserved for persons with disabilities prior to January 5, 2019 and March 30, 2019.
 8         15.    Plaintiff is informed and believes and thereon alleges Defendants have
 9   no policy or plan in place to make sure that the designated disabled parking for
10   persons with disabilities comport with the ADAAG.
11         16.    Plaintiff personally encountered these barriers. The presence of these
12   barriers related to Plaintiff’s disability denies Plaintiff her right to enjoy accessible
13   conditions at public place of accommodation and invades legally cognizable
14   interests created under the ADA.
15         17.    The conditions identified supra in paragraph 12 are necessarily related
16   to Plaintiff’s legally recognized disability in that Plaintiff is substantially limited in
17   the major life activities of walking, standing, and ambulating; Plaintiff is the holder
18   of a disabled parking placard; and because the enumerated conditions relate to the
19   use of the accessible parking, and relate to the slope and condition of the accessible
20   parking and accessible path to the accessible entrance.
21         18.    As an individual with a mobility disability who relies upon a wheelchair
22   and other mobility devices, Plaintiff has a keen interest in whether public
23   accommodations have architectural barriers that impede full accessibility to those
24   accommodations by individuals with mobility impairments.
25         19.    Plaintiff is being deterred from patronizing the Business and its
26   accommodations on particular occasions, but intends to return to the Business for the
27   dual purpose of availing herself of the goods and services offered to the public and
28   to ensure that the Business ceases evading its responsibilities under federal and state
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                                            COMPLAINT
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 1   law.
 2          20.      Upon being informed that the public place of accommodation has
 3   become fully and equally accessible, she will return within 45 days as a “tester” for
 4   the purpose of confirming their accessibility. Civil Rights Educ. and Enforcement
 5   Center v. Hospitality Props. Trust, 867 F.3d 1093, 1096 (9th Cir. 2017).
 6          21.      As a result of her difficulty experienced because of the inaccessible
 7   condition of the facilities of the Business, Plaintiff was denied full and equal access
 8   to the Business and Property.
 9          22.      The Defendants have failed to maintain in working and useable
10   conditions those features required to provide ready access to persons with
11   disabilities.
12          23.      The violations identified above are easily removed without much
13   difficulty or expense. They are the types of barriers identified by the Department of
14   Justice as presumably readily achievable to remove and, in fact, these barriers are
15   readily achievable to remove. Moreover, there are numerous alternative
16   accommodations that could be made to provide a greater level of access if complete
17   removal were not achievable.
18          24.      Given the obvious and blatant violation alleged hereinabove, Plaintiff
19   alleges, on information and belief, that there are other violations and barriers in the
20   site that relate to her disability. Plaintiff will amend the complaint, to provide proper
21   notice regarding the scope of this lawsuit, once she conducts a site inspection.
22   However, the Defendants are on notice that the Plaintiff seeks to have all barriers
23   related to his disability remedied. See Doran v. 7-11, 524 F.3d 1034 (9th Cir. 2008)
24   (holding that once a plaintiff encounters one barrier at a site, the plaintiff can sue to
25   have all barriers that relate to her disability removed regardless of whether she
26   personally encountered them).
27          25.      Without injunctive relief, Plaintiff will continue to be unable to fully
28   access Defendants’ facilities in violation of Plaintiff’s rights under the ADA.
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 1                               FIRST CAUSE OF ACTION
 2   VIOLATIONS OF THE AMERICANS WITH DISABILITIES ACT OF 1990,
 3     42 U.S.C. § 12181 et seq. as amended by the ADA Amendments Act of 2008
 4                                        (P.L. 110-325)
 5         26.    Plaintiff re-alleges and incorporates by reference all paragraphs alleged
 6   above and each and every other paragraph in this Complaint necessary or helpful to
 7   state this cause of action as though fully set forth herein.
 8         27.    Under the ADA, it is an act of discrimination to fail to ensure that the
 9   privileges, advantages, accommodations, facilities, goods, and services of any place
10   of public accommodation are offered on a full and equal basis by anyone who owns,
11   leases, or operates a place of public accommodation. See 42 U.S.C. § 12182(a).
12   Discrimination is defined, inter alia, as follows:
13                a.     A failure to make reasonable modifications in policies, practices,
14                       or procedures, when such modifications are necessary to afford
15                       goods, services, facilities, privileges, advantages, or
16                       accommodations to individuals with disabilities, unless the
17                       accommodation would work a fundamental alteration of those
18                       services and facilities. 42 U.S.C. § 12182(b)(2)(A)(ii).
19                b.     A failure to remove architectural barriers where such removal is
20                       readily achievable. 42 U.S.C. § 12182(b)(2)(A)(iv). Barriers are
21                       defined by reference to the ADAAG, found at 28 C.F.R., Part 36,
22                       Appendix "D".
23                c.     A failure to make alterations in such a manner that, to the
24                       maximum extent feasible, the altered portions of the facility are
25                       readily accessible to and usable by individuals with disabilities,
26                       including individuals who use wheelchairs, or to ensure that, to
27                       the maximum extent feasible, the path of travel to the altered area
28                       and the bathrooms, telephones, and drinking fountains serving
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 1                         the area, are readily accessible to and usable by individuals with
 2                         disabilities. 42 U.S.C. § 12183(a)(2).
 3         28.       Any business that provides parking spaces must provide accessible
 4   parking spaces. 2010 Standards § 208. Under the 2010 Standards, access aisles
 5   shall be at the same level as the parking spaces they serve. Changes in level are not
 6   permitted. 2010 Standards § 502.4. "Access aisles are required to be nearly level in
 7   all directions to provide a surface for wheelchair transfer to and from vehicles." 2010
 8   Standards § 502.4 Advisory. Here the failure to provide a level access aisle in the
 9   designated disabled parking space is a violation of the law and excess slope angle in
10   the access pathway is a violation of the law.
11         29.       A public accommodation must maintain in operable working condition
12   those features of its facilities and equipment that are required to be readily accessible
13   to and usable by persons with disabilities. 28 C.F.R. § 36.211(a).
14         30.       Here, the failure to ensure that accessible facilities were available and
15   ready to be used by Plaintiff is a violation of law.
16         31.       Given its location and options, Plaintiff will continue to desire to
17   patronize the Business but she has been and will continue to be discriminated against
18   due to lack of accessible facilities and, therefore, seeks injunctive relief to remove
19   the barriers.
20                                SECOND CAUSE OF ACTION
21       VIOLATION OF THE UCRA, CALIFORNIA CIVIL CODE § 51 et seq.
22         32.       Plaintiff re-alleges and incorporates by reference all paragraphs alleged
23   above and each and every other paragraph in this Complaint necessary or helpful to
24   state this cause of action as though fully set forth herein.
25         33.       California Civil Code § 51 et seq. guarantees equal access for people
26   with disabilities to the accommodations, advantages, facilities, privileges, and
27   services of all business establishments of any kind whatsoever. Defendants are
28   systematically violating the UCRA, Civil Code § 51 et seq.
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 1          34.   Because Defendants violate Plaintiff’s rights under the ADA,
 2   Defendants also violated the UCRA and are liable for damages. (Civ. Code § 51(f),
 3   52(a).) These violations are ongoing.
 4          35.   Plaintiff is informed and believes and thereon alleges that Defendants’
 5   actions constitute discrimination against Plaintiff on the basis of a disability, in
 6   violation of the UCRA, Civil Code § 51 et seq., because Defendants have been
 7   previously put on actual or constructive notice that the Business is inaccessible to
 8   Plaintiff. Despite this knowledge, Defendants maintain its premises in an
 9   inaccessible form, and Defendants have failed to take actions to correct these
10   barriers.
11                                          PRAYER
12   WHEREFORE, Plaintiff prays that this court award damages provide relief as
13   follows:
14          1.    A preliminary and permanent injunction enjoining Defendants from
15   further violations of the ADA, 42 U.S.C. § 12181 et seq. as amended by the ADA
16   Amendments Act of 2008 (P.L. 110-325), and UCRA, Civil Code § 51 et seq. with
17   respect to its operation of the Business and Property; Note: Plaintiff is not invoking
18   section 55, et seq, of the California Civil Code and is not seeking injunctive relief
19   under the Disabled Persons Act (Cal. C.C. §54) at all.
20          2.    An award of actual damages and statutory damages of not less than
21   $4,000 per violation pursuant to § 52(a) of the California Civil Code;
22          3.    An additional award of $4,000.00 as deterrence damages for each
23   violation pursuant to Johnson v. Guedoir, 218 F. Supp. 3d 1096; 2016 U.S. Dist.
24   LEXIS 150740 (USDC Cal, E.D. 2016);
25          4.    For reasonable attorneys' fees, litigation expenses, and costs of suit,
26   pursuant to 42 U.S.C. § 12205; California Civil Code § 52.
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                                            COMPLAINT
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 1                               DEMAND FOR JURY TRIAL
 2         Plaintiff hereby respectfully requests a trial by jury on all appropriate issues
 3   raised in this Complaint.
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 5   Dated: December 27, 2019               MANNING LAW, APC
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 7                                    By: /s/ Joseph R. Manning Jr., Esq.
                                         Joseph R. Manning Jr., Esq.
 8                                       Attorney for Plaintiff
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